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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.
                                                                    Re: Docket No. 10603


                    CERTIFICATION OF NO OBJECTION REGARDING
              THIRTIETH MONTHLY APPLICATION FOR COMPENSATION AND
              REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL &
             JONES LLP, AS COUNSEL TO THE TORT CLAIMANTS’ COMMITTEE
             FOR THE PERIOD FROM AUGUST 1, 2022 THROUGH AUGUST 31, 2022
                               (NO ORDER REQUIRED)

                  The undersigned hereby certifies that, as of the date hereof, no answer, objection

or other responsive pleading has been received to the Thirtieth Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Counsel to the Tort Claimants’ Committee for the Period from August 1, 2022 through August

31, 2022 (the “Application”) filed on October 18, 2022 [Docket No. 10603]. The undersigned

further certifies that the Court’s docket in this case has been reviewed and no answer, objection

or other responsive pleading to the Application appears thereon. Pursuant to the notice of

Application, objections to the Application were to be filed and served no later than

November 1, 2022 at 4:00 p.m. prevailing Eastern Time.

                  Pursuant to the Order (I) Approving Procedures for (A) Interim Compensation

and Reimbursement of Expenses of Retained Professionals and (B) Expense Reimbursement for

Official Committee Members and (II) Granting Related Relief [Docket No. 341] entered on


1  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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April 6, 2020, the Debtors are authorized to pay Pachulski Stang Ziehl & Jones LLP $670,381.60

which represents 80% of the fees ($837,977.00) and $24,429.05, which represents 100% of the

expenses requested in the Application, for the period from August 1, 2022 through

August 31, 2022, upon the filing of this Certification and without the need for entry of a Court

order approving the Application.

Dated: November 2, 2022                      PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ James E. O’Neill
                                             Richard M. Pachulski (CA Bar No. 90073)
                                             Alan J. Kornfeld (CA Bar No. 130063)
                                             Debra I. Grassgreen (CA 169978)
                                             Iain A.W. Nasatir (CA Bar No. 148977)
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                                             Counsel for the Tort Claimants’ Committee




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